               Case 2:17-cv-00094-RAJ Document 300 Filed 11/01/19 Page 1 of 4



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                                                                                   Judge Jones
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 8                              IN THE UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 9                                          AT SEATTLE
10
     ABDIQAFAR WAGAFE, et al., on behalf of             CASE NO. C17-00094-RAJ
11   himself and other similarly situated,
                                                        NOTICE OF SUBMISSION OF
12                                 Plaintiffs,          TWENTY-FIVE DOCUMENTS FOR
                                                        IN CAMERA REVIEW AT THE
13               v.                                     DIRECTION OF THE COURT
14   DONALD TRUMP, President of the United
     States, et al.,
15
                                   Defendants.
16

17

18           TO THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF

19 WASHINGTON, AND TO PLAINTIFFS, AND TO THEIR COUNSEL OF RECORD:

20           PLEASE TAKE NOTICE that on October 24, 2019, the Court issued a minute order

21 (Dkt. # 297) that provides, in pertinent part:

22        No later than 11/1/2019, Defendant shall submit to the Court the 25 documents at issue in
          the pending motion to compel in unredacted form for in camera review.
23

24           Accordingly, the following twenty-five documents in unredacted from are hereby submitted

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26 ///

27
                                                                                          UNITED STATES ATTORNEY
     NOTICE OF SUBMISSION OF TWENTY-FIVE DOCUMENTS FOR                                 5220 UNITED STATES COURTHOUSE
28   IN CAMERA REVIEW AT THE DIRECTION OF THE COURT - 1
                                                                                                700 Stewart Street
                                                                                        Seattle, Washington 98101-1271
     (Case No. C17-00094-RAJ)                                                                    (206)-553-7970
               Case 2:17-cv-00094-RAJ Document 300 Filed 11/01/19 Page 2 of 4



 1 to the Court for in camera review:

 2           1.       DEF-0094536

 3           2.       DEF-0094351

 4           3.       DEF-00095125

 5           4.       DEF-0094804

 6           5.       DEF-00095597

 7           6.       DEF-0094630

 8           7.       DEF-00095871

 9           8.       DEF-00095963

10           9.       DEF-0094235

11           10.      DEF-0094269

12           11.      DEF-0094275

13           12.      DEF-0094295

14           13.      DEF-0094974

15           14.      DEF-00095760

16           15.      DEF-0094994

17           16.      DEF-0094545

18           17.      DEF-00095123

19           18.      DEF-00095124

20           19.      DEF-0094271

21           20.      DEF-00096101

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23 ///

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                                                                           UNITED STATES ATTORNEY
     NOTICE OF SUBMISSION OF TWENTY-FIVE DOCUMENTS FOR                  5220 UNITED STATES COURTHOUSE
28   IN CAMERA REVIEW AT THE DIRECTION OF THE COURT - 2
                                                                                 700 Stewart Street
                                                                         Seattle, Washington 98101-1271
     (Case No. C17-00094-RAJ)                                                     (206)-553-7970
               Case 2:17-cv-00094-RAJ Document 300 Filed 11/01/19 Page 3 of 4



 1           21.      DEF-00095009

 2           22.      DEF-0094260

 3           23.      DEF-00096058

 4           24.      DEF-00095055

 5           25.      DEF-00095077

 6

 7 Dated: November 1, 2019.

 8                    Respectfully Submitted,

 9 JOSEPH H. HUNT                               VICTORIA BRAGA
   Assistant Attorney General                   Trial Attorney
10 Civil Division                               Office of Immigration Litigation
   U.S. Department of Justice
11                                              LEON B. TARANTO
   AUGUST FLENTJE                               Trial Attorney
12 Special Counsel                              Torts Branch
   Civil Division
13
   ETHAN B. KANTER                              ANDREW C. BRINKMAN
14 National Security Unit                       Trial Attorney
   Office of Immigration Litigation             Office of Immigration Litigation
15 Civil Division
                                                BRENDAN T. MOORE
16 DEREK C. JULIUS                              Trial Attorney
   Assistant Director                           Office of Immigration Litigation
17 Office of Immigration Litigation
   Civil Division                               LINDSAY M. MURPHY
18                                              Counsel for National Security
                                                National Security Unit
19 BRIAN T. MORAN                               Office of Immigration Litigation
   United States Attorney
20                                              JESSE L. BUSEN
                                                Trial Attorney
21 /s/ Brian C. Kipnis                          Office of Immigration Litigation
   BRIAN C. KIPNIS
22 Assistant United States Attorney
   Western District of Washington
23
                                                Counsel for Defendants
24

25

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27
                                                                                UNITED STATES ATTORNEY
     NOTICE OF SUBMISSION OF TWENTY-FIVE DOCUMENTS FOR                       5220 UNITED STATES COURTHOUSE
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                                                                                      700 Stewart Street
                                                                              Seattle, Washington 98101-1271
     (Case No. C17-00094-RAJ)                                                          (206)-553-7970
               Case 2:17-cv-00094-RAJ Document 300 Filed 11/01/19 Page 4 of 4


                                       CERTIFICATE OF SERVICE
 1
             I hereby certify that on November 1, 2019, I electronically filed the foregoing with the Clerk
 2

 3 of the Court using the CM/ECF system, which will send notification of such filing to all counsel of

 4 record.

 5
                                                          s/ Crissy Leininger
 6                                                        CRISSY LEININGER
                                                          Paralegal Specialist
 7                                                        United States Attorney’s Office
                                                          700 Stewart Street, Suite 5220
 8                                                        Seattle, Washington 98101-1271
                                                          Phone: (206) 553-7970
 9                                                        E-mail: christine.leininger@usdoj.gov
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                                                                                           UNITED STATES ATTORNEY
     NOTICE OF SUBMISSION OF TWENTY-FIVE DOCUMENTS FOR                                  5220 UNITED STATES COURTHOUSE
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                                                                                                 700 Stewart Street
                                                                                         Seattle, Washington 98101-1271
     (Case No. C17-00094-RAJ)                                                                     (206)-553-7970
